                   Case 1:10-cr-00176-AWI Document 30 Filed 05/19/10 Page 1 of 2


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            4
                Attorney for Defendant
            5   ROBERT DODSON Jr.

            6

            7                     IN THE UNITED STATES DISTRICT COURT

            8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
                                               * * * * *
            9
                UNITED STATES OF AMERICA       |         Case No. 10 CR 176 OWW
           10                                  |
                          Plaintiff,          |
           11        vs                        |         NOTICE OF WAIVER OF
                                               |         PERSONAL APPEARANCE AND ORDER
           12   ROBERT DODSON Jr.,             |
                                               |
           13             Defendant.          |
                _____________________________/
           14
                     Defendant ROBERT DODSON hereby waives his right to be present
           15
                in open court upon the hearing of any motion or other proceeding
           16
                in this cause, including, but not limited to, when the case is
           17
                ordered set for trial, when a continuance is granted, and when any
           18
                other action is taken by the Court before or after trial, except
           19
                upon arraignment, plea, impanelment of jury and imposition of
           20
                sentence.


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                   Case 1:10-cr-00176-AWI Document 30 Filed 05/19/10 Page 2 of 2
                     Defendant requests the Court to proceed during every absence

            1   of his which the Court may permit, pursuant to this waiver; agrees

            2   that his interests will be deemed represented at all times by the

            3   presence of his attorney, James R. Homola, as if Defendant was

            4   personally present; and further agrees to be present in person, in

            5   court, for trial any day and time the Court may direct.

            6

            7

            8        Defendant further acknowledges that he has been informed of

            9   his rights under the Speedy Trial Act (18 U.S.C. §§ 3161-3174),

           10   and authorizes her attorney to set times and approve delays under

           11   the Act without the Defendant’s physical presence.

           12   Dated: March 14, 2010
                                                       /s/ ROBERT DODSON Jr.
           13                                          ROBERT DODSON Jr.

           14   Dated: March 14, 2010

           15                                          /s/ James R. Homola
                                                       James R. Homola
           16                                          Attorney for Defendant

           17

           18
                                             IT IS SO ORDERED.
           19
                          Dated:    May 19, 2010     /s/ Oliver W. Wanger
           20                      emm0d6UNITED STATES DISTRICT JUDGE



James R. Homola
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